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                                                                                  2019 Jan-14 PM 01:33
                                                                                  U.S. DISTRICT COURT
                                                                                      N.D. OF ALABAMA


               IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        SOUTHERN DIVISION

KERRY E. WILBANKS, and individual,      )
                                        )
      Plaintiff,                        )
                                        )
v.                                      )           Case No. 2:18-cv-0670-JEO
                                        )
CMH HOMES, INC., a foreign corporation )
doing business in the State of Alabama, )
                                        )
             Defendant.                 )

                                     ORDER

      A joint stipulation of dismissal with prejudice has been filed, signed by

counsel for all parties who have appeared. (Doc. 12). Accordingly, this action is

DISMISSED WITH PREJUDICE, with costs taxed as paid. See Fed. R. Civ. P.

41(a)(1)(A)(ii). The Clerk is DIRECTED to close the file.

      DONE, this 14th day of January, 2019.




                                      _________________________________
                                      JOHN E. OTT
                                      Chief United States Magistrate Judge
